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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA



NATURAL RESOURCES WORLDWIDE LLC                       * CIVIL ACTION
                                                      *
                               Plaintiff,             *
                                                      * NO. 2:25-cv-00111
        VERSUS                                        *
                                                      *
THE UNITED STATES DEPARTMENT OF THE * JUDGE SARAH S. VANCE
INTERIOR; DEBRA HAALAND, in her official              *
capacity as Secretary of the Interior; BUREAU OF *
OCEAN ENERGY MANAGEMENT; ELIZABETH * MAGISTRATE JUDGE JANIS VAN
KLINE, in her official capacity as Director of the    * MEERVELD
Bureau of Ocean Energy Management; BUREAU *
OF SAFETY AND ENVIRONMENTAL                           *
ENFORCEMENT; and PAUL HUANG, in his                   *
official capacity as Acting Director of the Bureau of *
Safety and Environmental Enforcement                  *
                                                      *
                               Defendants.            *
*****************************

                            UNOPPOSED MOTION TO DISMISS

               Plaintiff, Natural Resources Worldwide LLC (“NRW”), through undersigned

counsel, respectfully requests this Court to dismiss this action without prejudice, as the Parties

have entered into a settlement agreement to resolve this matter. Undersigned counsel for NRW

has conferred with counsel for Defendants, who consented to the filing of this Unopposed Motion

to Dismiss.

               In the interest of judicial economy and the fair administration of justice, and for the

reasons provided herein, NRW respectfully prays that this Court grant this Unopposed Motion to

Dismiss without prejudice, with each party to bear its own costs.

                       [SIGNATURE ON THE FOLLOWING PAGE]


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Date: March 26, 2025              STONE PIGMAN WALTHER WITTMANN L.L.C.

                                   /s/ Justin P. Lemaire
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                                  Edward B. Poitevent, II, La. Bar No. 10564
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                                  Attorneys for Plaintiff Natural Resources
                                  Worldwide LLC




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